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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT
for the
i

Southern District of Ohio

 

   
 

 

United States of America )
V, )
)
ALVIN SANDERSON
)
Defendants)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of March 5, 2011 - present in the county of Fayette/Montgomery in the
ed Southern _—Districtof _ Ohio and elsewhere __. the defendant(s) violated:
Code Section Offense Description

21U.S.C. s. 846 and 841(b)(1) (A) Conspiracy to Distribute in excess of 5 kilograms of cocaine

This criminal complaint is based on these facts:

See Attached Affidavit of J. Matthew Allen

Mf Continued on the attached sheet.

  

Complainant’s signature

J. Matthew Allen, SA of the DEA

Printed name and title

 

   

Sworn to before me and signed in my presence.

Date: 03/18/2011

City and state: Dayton, Ohio
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AFFIDAVIT
I, J. Matthew Allen, being duly sworn, state as follows:
I.
INTRODUCTION
1. I am a Special Agent of the United States Drug
Enforcement Administration (“DEA”) currently assigned to the
Dayton Resident Office. I have been employed with the DEA as a
Special Agent since September 12, 2010. I have attended and
graduated from the basic agent training course in Quantico,
Virginia. During my tenure with the DEA, I have received
extensive training in the investigation of violations of federal
drug laws. Before joining the DEA, I served as a Kentucky State
Trooper from July 17, 2005 to September 11, 2010. As a trooper,
I participated in numerous investigations, including matters
involving drug interdiction.
II.
PURPOSE OF AFFIDAVIT
2. I make this affidavit in support of:

a. an application for a search warrant of the
following premises as there is probable to believe that evidence,
contraband, fruits of a crime, other items illegally possessed as
well as property designed for use, intended for use, or used in
committing violations of: 21 U.S.C. § 841(a) (1) (distribution of

controlled substances); 21 U.S.C. § 846 (conspiracy to distribute
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controlled substances); and 21 U.S.C. § 843(b) (use of a
telephone communication facility), exists and can be found at the
following locations:

(1) The premises located at 1792 Vancouver
Drive, Dayton, Ohio, including any garages, vehicles, storage
lockers, cabinets, sheds, closets or out buildings at this
location. 1792 Vancouver Drive, Dayton, Ohio is more fully
described in Attachment A, and Attachment A is incorporated
herein by reference;

(2) The premises located at 4180 US Highway
62 NE, Washington Courthouse, Ohio, including any garages,
vehicles, storage lockers, cabinets, sheds, closets or out
buildings at this location. 4180 US Highway 62 NE, Washington
Courthouse, Ohio is more fully described in Attachment B and
Attachment B is incorporated herein by reference.

b. an application for criminal complaints against

MICHAEL EVANS and ALVIN SANDERSON as there is probable cause to
believe that they have committed violations of 21 U.S.C. §8§ 846
and 841(b) (1) (A).

3. This affidavit is intended to show that there is
sufficient probable cause for the above-described search warrants
and criminal complaints and does not purport to set forth all of
my knowledge of, or investigation into, this matter. The facts

and information contained in this affidavit are based, in part,
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on personal knowledge derived from my participation in this
investigation and, in part, on information and belief, including:
oral and written reports regarding this and other investigations
that I have received, directly or indirectly, from local law
enforcement officers; physical surveillance conducted by other
agents and local law enforcement that has been reported to me
directly or indirectly; and information obtained from a
cooperating witness also known as a confidential source’ (“CS”)
that has been reported to me, directly or indirectly, by other
law enforcement personnel.
Tit.
ITEMS TO BE SEIZED

4. A list of the specific items to be seized from the
premises described in Paragraphs 2(a) (1) through 2(a) (2) is
attached hereto as Attachment C, and Attachment C is incorporated
herein by reference.

5. Based on my training and experience, as detailed above,
I believe that there is probable cause to believe that the items
listed in Attachment C will be found at the premises described in

Paragraphs 2(a) (1) through (a) (2).

 

' Based on my conversation with other law enforcement

officers, this CS previously has provided accurate and reliable
information to authorities. As detailed more fully below, law
enforcement has corroborated information received from the CS
through its review of audio and video recordings obtained during
the investigation of this matter.

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Iv.
SUMMARY OF PROBABLE CAUSE

6. On March 8, 2011, Detective Larry McGarvey of the
Fayette County Sheriff’s Department advised me that the US 23
Major Crimes Task Force (“Task Force”) -- a law enforcement group
located in Washington Courthouse, Ohio -- had received
information from a CS concerning the possible delivery of 17
kilograms of cocaine from Los Angeles, California to Dayton,
Ohio. Based on ensuing discussions with Detective McGarvey as
well as the CS, I learned the following information:

a. During January 2011, the CS began to work as an
informant for the Task Force. Shortly thereafter, the CS advised
the Task Force that the CS’s former employer, Alvin Sanderson of
Sanderson’s Painting, was likely involved in the sale and
distribution of crack cocaine. Based on this information, the
Task Force instructed the CS to reintroduce himself to Sanderson.

b. On or about February 1, 2011, the CS obtained a
job as a painter with Sanderson. Approximately two days later,
Sanderson approached the CS and asked if the CS could move any
crack cocaine or heroin for him, i.e., Sanderson. Sanderson
quoted the CS a price of $100 a gram for cocaine and $120 a gram
for heroin.

Cc. Based on this information, during February 2011,

the Task Force arranged two separate controlled buys of crack
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cocaine from Sanderson’s residence located at 4180 US Highway 62
NE, Washington Courthouse, Ohio. On each occasion, the Task
Force provided the CS with buy money. The CS then proceeded to
Sanderson’s residence. During the first deal, Sanderson advised
the CS that he, Sanderson was out of crack and arranged for the
CS to purchase crack cocaine from another person who was living
at 4180 US Highway 62 NE, Washington Courthouse, Ohio. During
the second deal, the CS purchased crack cocaine - approximately
1/8 of an ounce - at the residence directly from Sanderson.

da. On or about March 5, 2011, Sanderson
telephonically contacted the CS and inquired if the CS wanted to
earn some money. Sanderson directed the CS to come to
Sanderson’s residence -- 4180 US Highway 62 NE, Washington
Courthouse, Ohio. Acting under the direction of the Task Force,
the CS proceeded to Sanderson's residence. Upon arriving there,
the CS observed not only Sanderson but also another individual
known to the CS as Michael Evans. Sanderson and Evans proceeded
to ask if the CS wanted to drive a semi-truck to Los Angeles,
California, to pick up an unspecified quantity of cocaine’ and
then drive the semi-truck back to Dayton, Ohio. (It should be
noted that the CS is a licensed truck driver).

(1) When the CS expressed interest in their

 

* For the information of the Court, cocaine is a Schedule

TI controlled substance.
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offer, Sanderson and Evans began to ask the CS questions
concerning how they could make the trip appear legitimate. The
CS explained that the CS would need a bill of lading that
detailed what the CS was en route to pick up in California.
Sanderson and Evans asked the CS if the CS would be willing to
prepare the bill of lading.

(2) Sanderson and Evans offered the CS: $2000.00
for expenditures on the trip to California; $2000.00 for
expenditures on the trip back to Ohio; and $6800.00 for
successfully delivering the cocaine. Evans also offered to pay
for pre-paid, throw away phones that the CS would use to keep in
contact with Evans during the trip. During the meeting, the CS
overheard a conversation in which the CS believed that Evans and
Sanderson were discussing 70 kilograms of cocaine.

(3) During this meeting, Evens prepared on
Sanderson’s personal computer at the residence a sham contract to
make the CS’s planned trip appear legitimate. The contract was
between “B J Transportation / Sanderson Painting.”

e, Sometime after the meeting concluded, the Task
Force instructed the CS to call Sanderson. During the telephone
call, the CS expressed concern to Sanderson about driving 70
kilograms of cocaine across the United States. Sanderson

responded that the CS should not worry about anything and that it

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would be a fun trip; Sanderson also corrected the CS, indicating
that the load would consist of 17, not 70, kilograms of cocaine.

£. On March 7, 2011, while under surveillance by the
Task Force, the CS went to Sanderson’s house. Once there,
Sanderson directed the CS to call Sherwin Williams and ask for
blank bills of lading from an individual named Josh. Pursuant to
Sanderson's instructions, the CS advised Josh that Sanderson
would “take care of him later” for providing the blank bills of
lading. Given that the CS knows that Josh obtains crack cocaine
from Sanderson, the CS believed that Sanderson intended to give
Josh drugs for supplying him with the bills of lading. After
completing this call, Sanderson drove the CS to a Sherwin
Williams store located in Washington Courthouse, Ohio. At
Sanderson’s direction, the CS entered the Sherwin Williams,
obtained the blank bills of lading from Josh, and then returned
to Sanderson’s vehicle.

(1) While still under surveillance of the Task
Force, Sanderson and the CS proceeded to Jeffersonville, Ohio,
where they picked up an individual identified herein as M.F.
According to the CS, Sanderson drove M.F. to several locations in
the Jeffersonville area, where M.F. delivered small quantities of
crack cocaine.
(2) After completing these deliveries and

dropping M.F. off, Sanderson and the CS drove to Evans’s home in
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Dayton, Ohio - namely, 1792 Vancouver Drive, Dayton, Ohio. Once
there, Sanderson and the CS entered the residence, where they met
Evans. While in the residence, the CS observed what he believed
to be distribution size quantities of crack cocaine, Vicodin and
heroin. The CS, in fact, observed Evans distribute small
quantities of cocaine to several people who were performing work
on Evans’s residence.

(3) Evans, Sanderson, and the CS then discussed
the planned trip to California. Sanderson signed the sham
contract that Evans had prepared during the March 5, 2011
meeting. Evans collected the contract - of which there were
three copies - and the bills of lading, and these documents in
three separate folders, which he then stored in his bedroom
closet. Evans intended to give one of these folders to the CS
upon the CS’s departure for California. Evans, Sanderson and the
CS again discussed the pick up and delivery of the 17 kilograms
of cocaine. For instance, the three discussed the locations at
which they could link up in California. (Evans had advised the
CS that Evans intended to meet the CS in California to personally
arrange the delivery of the cocaine to the CS’s truck). The
three also agreed that Evans would fly to California on March 9,
2011 and would met up with the CS in California no later than

March 11, 2011.

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7. After learning the above-described information, the DEA
instructed the CS to come to the DEA Dayton Resident Office on
March 8, 2011. Once there, the DEA had the CS contact Evans and
advise Evans that the CS’s semi-trailer had broken down in
Wisconsin and that their planned trip to California would have to
be delayed. Evans demanded proof that the semi-trailer was
broken down. Shortly thereafter, Sanderson called the CS.

During this call, Sanderson expressed frustration that the CS had
placed Sanderson in a bad situation with the truck breaking down.
Sanderson also provided the CS with Evans’s e-mail address and
instructed the CS to e-mail proof of the truck’s breakdown to
Evans.

8. On or about March 10, 2011, the CS, Evans and Sanderson
met at Sanderson’s residence - 4180 US Highway 62 NE, Washington
Courthouse, Ohio. During this meeting, the CS provided Evans and
Sanderson with a DEA-supplied receipt that purported to document
that the CS’s truck had broken down in Wisconsin. Apparently
Satisfied with the receipt, Evans and Sanderson instructed the CS
to notify them when the CS was ready to make the trip.

9, On or about March 15, 2011, at the direction of DEA and
consistent with Evans’s and Sanderson’s request, the CS called
Evans and indicated that the CS was ready to leave for California

to pick up the cocaine on March 17, 2011.

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10. On or about March 16, 2011, the CS again called Evans
and requested that they meet one another in person at Evans's
residence. Evans agreed to this meeting.

11. On or about March 17, 2011, the CS went to Evans’s
residence, where he met with Evans and Sanderson. Once there,
Evans took the CS to Evans’s bedroom. Evans proceeded to give
the CS one of the three folders containing one of the contracts
and bills of lading. Evans advised the CS that he, Evans, would
be flying to California on March 18, 2011 and would meet the CS
at a predetermined meet location in California. The CS
understood that, at this meet location, Evans would give the CS
the cocaine to transport back to Ohio.

12. Based on my training and experience as well as
discussions with experienced DEA special agents and other law
enforcement officers, I know the following information:

a. It is common practice drug traffickers and drug
distributors hide their assets, their addresses, their telephone
and beeper/pager services by using other person's names in order
to avoid discovery by law enforcement officials;

b. Tt is common practice that drug traffickers and
drug distributors often maintain residences which are used as
stash houses or locations for drug storage and distribution and
use nominees to obtain telephone service, utility service, et

cetera, once again to hide the true identity of the owner or

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person who will use that service;

c. It is common practice that drug traffickers and
drug distributors often place assets in corporate entities in
order to avoid detection of those assets by law enforcement
officials;

d. It is common practice that even though these
assets are in nominee names, drug traffickers and drug
distributors continue to utilize these assets by exercising
dominion and control over them;

e. Tt is common practice that drug traffickers and
drug distributors maintain on hand large amounts of U.S. Currency
in order to finance their ongoing drug business;

£. It is common practice that drug traffickers and
drug distributors maintain books, records, receipts, notes,
ledgers, airline tickets, money orders, and other documents
relating to the transportation and distribution of drugs; drug
traffickers and drug distributors commonly front (provide drugs
on consignment) to their clients; that the aforementioned books,
records, receipts, notes, ledgers, et cetera, are maintained
where the drug traffickers and drug distributors have ready
access to them;

g. Tt is common for drug traffickers and drug

distributors to provide false information to law enforcement

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officials regarding their identity and the actual address of
their residence;

h. It is common for drug traffickers and drug
distributors to conceal drugs, contraband, proceeds of drug
sales, at locations within their residences and/or their
businesses and within vehicles located at their residences and/or
businesses from law enforcement officials;

i. Persons involved in drug trafficking and drug
distribution conceal in their residences and businesses, drugs,
large amounts of currency, financial instruments, jewelry,
automobile titles, other items of value and/or proceeds of drug
transactions and evidence of financial transactions relating to
the obtainment and concealment of large sums of money acquired
from engaging in drug trafficking and drug distribution
activities;

j- That when drug traffickers and drug distributors
amass large proceeds from the sale of drugs, the drug traffickers
and drug distributors attempt to legitimize (launder) these
profits; that to accomplish these goals, drug traffickers and
drug distributors many times utilize banks and/or financial
institutions with their attendant services, including but not
limited to, cashier's checks, money drafts, letters of credit, et
cetera; that other entities used to launder moneys include real

estate firms and purported legitimate business fronts;

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k. It is common practice that drug traffickers and
drug distributors commonly travel to purchase and distribution
areas to facilitate their trafficking; that after purchasing
drugs, the traffickers and drug distributors would transport, or
cause to be transported, drugs to areas in which they will
distribute the drugs; and that the methods of transportation
include, but are not limited to, commercial airlines and rental
and private automobiles;

1. It is common practice that drug traffickers and
drug distributors commonly maintain addresses or telephone
numbers in books and documents which reflect names, addresses,
and/or telephone numbers of their associates in the trafficking
and drug distribution organization;

m. That drug traffickers and drug distributors take,
or cause to be taken, photographs of themselves, their
associates, their property and their product, and that the
photographs are usually maintained at the residences and/or
businesses of traffickers and drug distributors;

n. That drug traffickers and drug distributors have
in their possession, (that is on their persons, at their
residences, and/or their businesses), firearms, including but not
limited to, handguns, pistols, revolvers, rifles, shotguns,
machine guns, knives, and other weapons; that said firearms are

used to protect and secure a drug trafficker's and drug

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distributor's property which may include, but is not limited to,
narcotics, jewelry, narcotics paraphernalia, books, records, U.S.
Currency, et cetera;

oO. That drug traffickers and drug distributors
frequently maintain hidden compartments within their residences
and vehicles, as well as bury drugs, money, and other items of
evidence in containers such as shoe boxes, in safes, or hidden
compartments inside the residences;

p. That drug traffickers and drug distributors
Erequently use rental vehicles for everyday travel and will
maintain another vehicle, usually at an out of sight location, to
facilitate their drug trafficking business.

Based on the foregoing, I submit that there is probable
cause to issue search warrants for the above-described premises
and to issue criminal complaints against Alvin Sanderson and

Michael Evans.

oy 18, 2011

Matthew Allen
Special Agent
Drug Enforcement Administration

 
    
 

 

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